      Case 2:22-bk-16301-BR      Doc 121 Filed 08/18/23 Entered 08/18/23 07:36:25                Desc
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1.    Edward J. Miller (SB#244091)
      William S. Sarrus (SB#101322)
2.    FABOZZI & MILLER, APC.                                         FILED & ENTERED
      38975 Sky Canyon Drive, Suite 104
3.
      Murrieta, CA 92563
4.    Telephone: (951)296-1775                                              AUG 18 2023
      Facsimile: (951)296-1776
5.    Attorneys for Creditor Wells Fargo Bank, N.A.                    CLERK U.S. BANKRUPTCY COURT
                                                                       Central District of California
6.                                                                     BY fortier    DEPUTY CLERK


7.
8.
9.                             UNITED STATES BANKRUPTCY COURT
10.                             CENTRAL DISTRICT OF CALIFORNIA
11.                                     LOS ANGELES DIVISION
12.
13.
       IN RE:                                          Case No.: 2:22-BK-16301-BR
14.
15.    PURIFYING SYSTEMS, INC.,                        Chapter 11 (Subchapter V)

16.    Debtor and Debtor-In-Possession,                ORDER DISMISSING CHAPTER 11
17.                                                    (SUBCHAPTER V) CASE WITH A 180
                                                       DAY BAR TO REFILING
18.
                                                       DATE: August 8, 2023
19.
                                                       TIME:  10:00 A.M.
20.                                                    PLACE: Courtroom 1668
                                                              United States Bankruptcy Court
21.
                                                              255 East Temple Street
22.                                                           Los Angeles, CA 90012
23.
24.
25.          At that above-captioned date, time and place, the Court held a hearing on the Motion to
26. Confirm Debtor’s Subchapter V Chapter 11 Plan of Reorganization (“Motion”) made by Debtor
27. and Debtor-In-Possession PURIFYING SYSTEMS, INC. (“Debtor”). Sofya Davytan appeared
28. for Debtor. Gregory K. Jones appeared for the United States Trustee. William S. Sarrus


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                         ORDER DISMISSING CHAPTER 11 SUBCHAPTER V CASE
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1.    appeared on behalf of Secured Creditor Wells Fargo Bank, N.A. Sean A. O’Keefe appeared on
2.    behalf of Secured Creditor Callahan & Blaine, APC.
3.          After the Court’s review of the pleadings filed on this matter, and hearing oral arguments
4.    of the parties, and good cause having been found,
5.    IT IS ORDERED that:

6.       1. The above-captioned Chapter 11 Subchapter V case of Purifying Systems, Inc., Debtor

7.          and Debtor-In-Possession is dismissed:

8.       2. The automatic stay is vacated; and
         3. Purifying Systems, Inc. is barred for a period of 180 days following entry of this Order
9.
            from filing another case under Title 11 of the United States Code.
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22.
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24.
           Date: August 18, 2023
25.
26.
27.
28.


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                         ORDER DISMISSING CHAPTER 11 SUBCHAPTER V CASE
